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                        UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


                                        )
AMERICAN ASSOCIATION OF                 )
UNIVERSITY PROFESSORS, ET AL.,          )   Civil Action No. 1:25-cv-10685-WGY
                                        )
            Plaintiffs,                 )
                                        )
v.                                      )
                                        )
MARCO RUBIO, in his official capacity   )
as Secretary of State, and the          )
DEPARTMENT OF STATE, ET AL.,            )
                                        )
                                        )
            Defendants.                 )
                                        )


     DEFENDANTS’ ASSENTED-TO MOTION FOR ATTORNEY EYES ONLY
                       PROTECTIVE ORDER
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       Defendants respectfully request a protective order allowing certain personally identifiable

information (“PII”), including but not limited to identities, to be designated attorneys’ eyes only

(“AEO”), thereby restricting its disclosure to counsel for the parties and counsel’s staff, the

Court and its staff, and videographers and court reporters who have read the order and signed an

“Acknowledgment and Agreement to Be Bound.” Specifically, Defendants seek to use this

designation to protect the PII, including but not limited to the identities, of agents and employees

of the Department of Homeland Security (“DHS”) with knowledge of and/or involvement in the

arrest plans for the identified allegedly “targeted noncitizens.” On June 16, 2025, Plaintiffs’

counsel indicated by email that they consent to this request.

       This Court has the legal authority to enter such an order. Rule 26(c) provides that a party

may seek a protective order “to protect a party or person from annoyance, embarrassment,

oppression, or undue burden or expense” by “forbidding inquiry into certain matters, limiting the

scope of disclosure or discovery to certain matters” or by requiring certain confidential

information “not be revealed or be revealed only in a specified way.” In considering such

requests, the Court considers whether the request for protection “warrant[s] conferral of any

special consideration,” including the injury that disclosure portends, and “the type and kind of

protection the law affords.” Cusumano v. Microsoft Corp., 162 F.3d 708, 714, 716 (1st Cir.

1998). Within the context of a protective order, the party moving for AEO disclosure “has the

initial burden to describe the alleged harm it will suffer from any disclosure with a particular and

specific demonstration of fact.” Does 1-6 v. Mills, --- F. Supp. 3d ---, 2021 WL 4005985, at *2

(D. Me. Sept. 2, 2021). AEO disclosure is appropriate in limited circumstances, including where

significant security concerns are present. See, e.g., Reese v. Liberty, --- F. Supp. 3d ---, 2019 WL

5549219, at *3 (D. Me. Oct. 25, 2019) (observing that “courts have approved attorneys’ eyes



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only designations as a means of balancing prison security concerns against an inmate’s right of

access to relevant discovery”).

       Defendants meet the standard here. First, release of the PII would compromise the

personal safety of DHS agents and employees, as well as that of their families and friends. DHS

has reported a 413% increase in assaults against its enforcement officers in the last calendar year.

Marni Rose McFall, Public Database of ICE Agents’ Personal Details Sparks Backlash,

NEWSWEEK (June 11, 2025); 1 DHS, DHS Releases Statement on Violent Rioters Assaulting ICE

Officers in Los Angeles, CA and Calls on Democrat Politicians to Tone Down Dangerous

Rhetoric About ICE (June 7, 2025) (“DHS Statement on Violet Rioters”); 2 DHS, DHS Debunks

Fake News Narratives About Law Enforcement During Police Week (May 16, 2025); 3 Maria

Papadopoulos, Assaults against ICE officers up 400 percent since last year, ICE director says

(May 20, 2025). 4 As well, DHS has reported that its agents have been doxxed—that is, their

private or personally identifying information was exposed publicly without their consent—and

agents, as well as their family members, have also been targeted and threatened. DHS Statement

on Violent Rioters; Maria Papadopoulos, ICE agents ‘doxed’ on social media, wear masks after

receiving death threats, director says (June 2, 2025); 5 see H.R. Res. 1048, 115th Cong. (2018)




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  https://www.newsweek.com/ice-agents-personal-details-database-los-angeles-protests-
deportation-2083277.
2
  https://www.dhs.gov/news/2025/06/07/dhs-releases-statement-violent-rioters-assaulting-ice-
officers-los-angeles-ca-
and#:~:text=Our%20ICE%20enforcement%20officers%20are,doxed%20and%20targeted%20as
%20well.
3
  https://www.dhs.gov/news/2025/05/16/dhs-debunks-fake-news-narratives-about-law-
enforcement-during-police-week.
4
  https://www.boston25news.com/news/local/assaults-against-ice-officers-up-400-percent-since-
last-year-ice-director-says/RN74A7UCYJAQTLYN5PWUZACG74/.
5
  https://www.boston25news.com/news/local/ice-agents-doxed-social-media-wear-masks-after-
receiving-death-threats-director-says/2NIC6OZ6XRGMXDRYLWLIKJ66GU/.
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(opposing and condemning the harassment and other threatening behavior aimed at DHS

employees and summarizing the “doxxing and violent threats after…social media profiles, phone

numbers, and home addresses were posted on the internet”); Alysha Palumbo, Marc Fortier &

Kaitlin Flanigan, Cambridge Man Accused of Threatening ICE Agents, Police, US Sen. John

McCain, NCEN (Aug. 9, 2018) (reporting that a person was arrested after posting on social

media that he would “give $500 to anyone who kills an ICE agent,” among other threatening

posts). 6

        In fact, the circumstances and threats against federal law enforcement officials, including

DHS agents and employees, have become so dire that they have captured the attention of

Congress, with Senator Blackburn recently introducing a bill to criminalize doxxing of federal

law enforcement agents. Protecting Law Enforcement from Doxxing Act, S. 1952, 119th

Congress (2025) (introduced in the Senate and referred to the Committee on the Judiciary on

June 4, 2025); Blackburn Introduces Legislation to Protect Federal Law Enforcement Officers

from Doxxing, Marsha Blackburn, U.S. Senator for Tennessee (June 4, 2025); 7 Austin

Honrbostel, Sen. Marsha Blackburn introduces bill making it illegal to ‘dox’ federal law

enforcement, THE TENNESSEAN (June 5, 2025). 8 The Protecting Law Enforcement from Doxxing

Act would, upon a finding of guilt, impose a fine or a sentence of imprisonment of up to five

years, underlining the substantial concern created by the revelation of the identities of law and

immigration enforcement officials. S. 1952 at § 2(a)(2).




6
  https://www.ncen.com/news/new-england/Massachusetts-Man-Federal-Threat-Charge-Arrest-
Authorities-490458851.html.
7
  https://www.blackburn.senate.gov/2025/6/immigration/national%20security/blackburn-
introduces-legislation-to-protect-federal-law-enforcement-officers-from-doxxing.
8
  https://www.tennessean.com/story/news/local/davidson/2025/06/05/blackburn-bill-
criminalizing-doxxing-federal-law-enforcement-oconnell-ice/84048878007/.
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       In sum, protecting the safety and security of DHS agents and/or employees, as well as

that of their families and friends, is a legitimate and compelling reason for the grant of a

protective order designating the PII of DHS agents and/or employees involved in particular cases

as AEO. Accord Collens v. City of N.Y., 222 F.R.D. 249, 254 (S.D.N.Y. 2004) (“[P]olice

officers play a significant role in law enforcement that may subject them [to] danger, and they

have a justifiable fear that disclosing their home addresses could jeopardize their safety.”)

       Second, release of the PII would compromise and obstruct the operational security of

ongoing immigration enforcement and removal operations. Any agents and employees that DHS

identifies as responsive to Plaintiffs’ interrogatories are involved in ongoing immigration

enforcement and removal operations beyond the arrests of the identified allegedly “targeted

noncitizens.” Release of their PII, including but not limited to their identities, may require the

DHS to take drastic responsive action to protect its agents and employees, as well as their

families and friends, from harm in the ongoing operations, including but not limited to

reallocation of personnel and resources and changes to action and arrest plans for ongoing

investigations. Protecting the operational security and integrity of ongoing immigration

enforcement and removal operations is a legitimate and compelling reason for the grant of a

protective order designating the PII, including but not limited to identities, as AEO. Accord In re

Micro Tech., Inc. Sec. Litig., 264 F.R.D. 7, 10 (D.D.C. 2010) (the law-enforcement privilege is

“designed to prevent disclosure of information that would be contrary to the public interest in the

effective functioning of law enforcement”); In re Dep’t of Investigation of City of N.Y., 856 F.2d

481, 484 (2d Cir. 1988) (“the purpose of [the law-enforcement] privilege is to…protect witnesses

and law enforcement personnel [and] to safeguard the privacy of individuals involved in an

investigation….”).



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       Finally, Defendants’ request for a protective order is proper and not overly burdensome

on Plaintiffs. The AEO designation would not prevent Plaintiffs’ counsel from accessing PII nor

would it prevent the relevant DHS agents and/or employees from being deposed or providing

relevant testimony at trial. Defendants’ request is based on the need to protect the safety of DHS

agents and/or employees, as well as their families and friends, and prevent compromise and

obstruction of operational security—especially in light of the substantial increase in assaults and

threats against and doxxing of DHS agents and/or employees and their families. Plaintiffs have

no comparable compelling need to obtain the PII in order to participate meaningfully in their

case, which notably does not include the identified allegedly “targeted noncitizens” as plaintiffs.

See Reese, 2019 WL 5549219, at *5 (considering the balance of the parties’ interests, observing

the strong interest in protecting “sensitive information that could be used to thwart corrections

officers’ efforts to maintain security at the Prison and/or pose a risk to officer safety” and the

comparatively weak interest of the plaintiff, as opposed to plaintiff’s counsel, in viewing the

information).

       In sum, Defendants have provided substantial justification of their strong interest in the

designation of such PII as AEO. Accordingly, the Court should grant Defendants’ motion for a

protective order and designate the PII, including but not limited to identities, of identified DHS

agents and/or employees that have knowledge of or involvement in the arrest plans for the

identified allegedly “targeted noncitizens” as AEO.

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Respectfully Submitted,

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Dated: June 16, 2025




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                          MEET AND CONFER CERTIFICATION

       In accordance with Local Rules 7.1(2), on June 16, 2025, Government counsel conferred

with Plaintiffs’ counsel by email with regard to this motion. Counsel for Plaintiffs indicated that

they consent to the Government’s request.


                                                             /s/ Ethan B. Kanter
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 16, 2025, I electronically filed the foregoing via the

CM/ECF system for the United States District Court for the District of Massachusetts, in

accordance with Local Rule 5.2. I further certify that counsel for all parties are registered with

the Court’s CM/ECF system and service will be accomplished by that system.



                                                              /s/ Ethan B. Kanter
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